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 9
10
11                                  UNITED STATES DISTRICT COURT
12
                                  CENTRAL DISTRICT OF CALIFORNIA
13
14 EDWARDO MUNOZ, individually and on                    Case No. 2:18-cv-03893 RGK (AGR)
15 behalf of all others similarly situated,
                                                         DEFENDANT 7-ELEVEN, INC.’S
16                     Plaintiff,                        NOTICE OF COMPLIANCE WITH 28
                                                         U.S.C. § 1715
17                     vs.
18 7-ELEVEN, INC., a Texas corporation,
19
             Defendant.
20
21                                                       Complaint Filed:       May 9, 2018
22                                                       First Am. Comp. Filed: July 9, 2018
                                                         Trial Date:            July 2, 2019
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                     DEFENDANT 7-ELEVEN, INC.’S NOTICE OF COMPLIANCE WITH 28 U.S.C. § 1715
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1             TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2             PLEASE TAKE NOTICE that on July 5 and 31, 2019, pursuant to and in
3 accordance with 28 U.S.C. § 1715(b), Defendant 7-Eleven, Inc. (“7-Eleven”) caused
4 notification of the proposed class action settlement with the Plaintiff in this action to be
5 provided to each of the appropriate federal and state officials by certified mail through
6 the U.S. Postal Service, as reflected in the accompanying declaration of counsel. (See
7 Declaration of Delavan J. Dickson, ¶ 2, Exs. A and B.)
8
9 Dated: September 16, 2019                      CALL & JENSEN
                                                 A Professional Corporation
10                                               Julie R. Trotter
                                                 Kent R. Christensen
11                                               Delavan J. Dickson
12
13                                               By: /s/ Delavan J. Dickson
                                                     Delavan J. Dickson
14
                                                 Attorneys for Defendant 7-Eleven, Inc.
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     SEV05-13:2564937_1:9-16-19                       -2-
                     DEFENDANT 7-ELEVEN, INC.’S NOTICE OF COMPLIANCE WITH 28 U.S.C. § 1715
